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 Attorneys for Defendant Save On SP, LLC

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


                                                      Civil Action No. 2:22-cv-02632
   JOHNSON & JOHNSON HEALTH CARE                      (JKS)(CLW)
   SYSTEMS INC.,
                                                             Document electronically filed.
                       Plaintiff,
   v.                                                         CERTIFICATION OF
                                                             MATTHEW NUSSBAUM
   SAVE ON SP, LLC,                                    IN SUPPORT OF APPLICATION FOR
                                                           ADMISSION PRO HAC VICE.
                       Defendant.



        I, MATTHEW NUSSBAUM, of full age, make this application to appear as counsel pro

 hac vice in the above-captioned action, and declare as follows:
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          1.     I am an Associate at the law firm of Selendy Gay PLLC, 1290 Avenue of the

 Americas, New York, New York 10104. I am fully familiar with the facts and circumstances sur-

 rounding this litigation, and I submit this Certification in support of the application for my ad-

 mission pro hac vice pursuant to Local Civil Rule 101.1(c)(3).

          2.     My law firm has been retained as counsel for Defendant Save On SP, LLC

 (“SaveOnSP”) in this litigation. The issues raised in this litigation involve areas with which I

 have experience in the law.

          3.     Attached hereto as Exhibit A is a true and correct table that identifies, to the best

 of my knowledge, my bar admission, the year in which I was admitted to the bar, and, for the bar,

 the name and address of the official or office maintaining the roll of its members.

          4.     I am not under suspension or disbarment by any court and have never been sub-

 jected to any disciplinary action by any court or governing body.

          5.     I am ineligible for plenary admission to the bar of this Court pursuant to Local

 Civil Rule 101.1(b).

          6.     I am willing to submit to the jurisdiction of this Court and to comply with all of

 its rules and procedures. To ensure my familiarity with these regulations I have reviewed the lo-

 cal rules of this Court.

          7.     I have never been convicted of a felony crime, censured, suspended, disciplined,

 or disbarred by any court, nor are there any disciplinary or contempt proceedings involving me

 pending before any court, nor have I been denied admission to any court during the last five

 years.

          8.     Pursuant to the rules of this Court, E. Evans Wohlforth, Jr., or another member of

 the law Robinson & Cole LLP who is a member in good standing of the bars for the State of
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 New Jersey and the United States District Court for the District of New Jersey, will review and

 sign all pleadings, briefs, and other papers filed with the Court on behalf of SaveOnSP and will

 be present for all appearances before the Court unless previously excused from appearing by the

 Court.

          9.     I agree to strictly observe the dates fixed for scheduling conferences, motions,

 briefs, pre-trial conferences, trial, or other proceedings, to submit to the jurisdiction of this Court

 for the purposes of sanctions, discipline, or other such action as the Court may deem proper, and

 to otherwise abide by all the terms and conditions of Local Civil Rule 101.1(c). I agree to be

 bound by the rules governing practice in the New Jersey Courts, including the disciplinary rules.

          10.    Pursuant to Local Civil Rule 101.1(c)(2), I agree to pay, or cause to be paid, the

 annual fee required by the New Jersey Lawyers’ Fund for Client Protection as provided by New

 Jersey Court Rule 1:28-2(a) and as directed by the Trustees of the Fund. I further agree that, pur-

 suant to Local Civil Rule 101.1(c)(3), I shall pay, or cause to be paid, $250.00 to the Clerk of the

 United States District Court for the District of New Jersey.

          11.    In light of the foregoing, I respectfully request on behalf of SaveOnSP that I be

 admitted pro hac vice for the purpose of representing it in this matter in association with Robin-

 son & Cole LLP.

          I declare under penalty of perjury that the foregoing is true and accurate. I am aware that

 if any of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                /s/ Matthew Nussbaum
                                                    Matthew Nussbaum


 Dated: March 28, 2024
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                             EXHIBIT A
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                                 Bar Admission

             Bar              Year of     Name and Address of the Official or Office
                             Admission          Maintaining the Bar’s Roll

                                         New York State Office of Court Administration
       State of New York       2022              Attorney Registration Unit
                                                       25 Beaver Street
                                                    New York, NY 10004
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